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 5     tfriedman@ toddflaw.com
       Attorneys for Plaintiff
 6
 7                         UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
                                               )
 9
      TERRY FABRICANT and ABANTE ) Case No. 2:20-cv-10005-ODW-PLA
10    ROOTER AND PLUMBING INC,                 )
11    individually and on behalf of all others ) NOTICE OF VOLUNTARY
      similarly situated,                      ) DISMISSAL OF ENTIRE ACTION
12                                             ) WITHOUT PREJUDICE
13    Plaintiffs,                              )
                                               )
14
             vs.                               )
15                                             )
16
      DIRECT LISTINGS, LLC, and DOES )
      1 through 10, inclusive, and each of     )
17    them,                                    )
18                                             )
      Defendants.                              )
19                                             )
20
21
22          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of

23    Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without

24    prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a motion

25    for summary judgment. Accordingly, this matter may be dismissed without

26    prejudice and without an Order of the Court.

27
28    ///



                                      Notice of Dismissal
                                              -1-
     Case 2:20-cv-10005-ODW-PLA Document 11 Filed 02/04/21 Page 2 of 3 Page ID #:41




 1          Respectfully submitted this 4th Day of February, 2021.
 2
 3                                                         By: s/Todd M. Friedman Esq.
                                                                 Todd M. Friedman
 4                                                                Attorney For Plaintiff
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                                     Notice of Dismissal
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 1                       CERTIFICATE OF SERVICE
 2
      Filed electronically on February 4, 2021, with:
 3
 4    United States District Court CM/ECF system
 5
      Notification sent electronically on February 4, 2021, to:
 6
 7
      To the Honorable Court, all parties and their Counsel of Record

 8
 9    s/ Todd M. Friedman
10      Todd M. Friedman
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                                       Notice of Dismissal
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